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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

SHEILA A. MANNIX,                    )
                                     )
                  Plaintiff,         )
                                     )
           v.                        )     No. 09 C 103
                                     )     USCA No. 09-1468
LISA MADIGAN, et al.,                )
                                     )
                  Defendants.        )

                                  MEMORANDUM

     Sheila Mannix (“Mannix”) has filed with this District Court

a motion seeking leave for Bret Landrith, whom she identifies as

a disbarred Kansas lawyer, to file his appearance on her behalf.

But because neither Case NO. 09 C 103 (which is pending on appeal

before our Court of Appeals as its Case No. 09-1468) nor any

other proceeding involving Mannix is pending on this Court’s

calendar, it lacks jurisdiction to entertain Mannix’s motion.

This Court notes, however, that Mannix has filed a parallel

motion before the Court of Appeals, so that Court may elect to

deal with Mannix’s motion there.



                               ________________________________________
                               Milton I. Shadur
                               Senior United States District Judge

Date:   July 28, 2009
